4/9/24, 3:29 Case
             PM   24-50346-grsManheim
                                 Doc| MMR
                                      100-2    Filed 05/20/24
                                          | MERCEDES-BENZ        Entered
                                                          SPRINTER 2500 2WD 05/21/24    17:22:50
                                                                            V6 TDSL | April              Desc
                                                                                            9, 2024 US Edition
                                                                              Exhibit B            Page 1 of 6

                 Manheim Market Report                                                 April 9, 2024 US Edition



     2019 MERCEDES-BENZ SPRINTER 2500 2WD V6 TDSL EXT CARGO 3.0L HIGH ROOF
     WD3PF1CD6KP061147



                      Base MMR                                    MMR Adjustments                                                            MMR Range

                 $23,600                                          Odometer
                                                                    --
                                                                                                                                        $19,150 - $28,000


                                                                  Region                                                                 Adjusted MMR
                    Avg Odometer (mi)
                         131,142
                                                                    --

                                                                  Condition Report
                                                                                                                                                 --
                                                                    --
                       Avg Condition
                             2.7                                  Color                                                                 Estimated Retail Value
                                                                                                                                Based on Cox Automotive Retail Transactions
                                                                    --

                                                                  Numbers may not add exactly due to rounding
                                                                  ** AutoGrade™ or Manheim Express Grade
                                                                                                                                            $27,500


  Transactions                 Showing 6 of 6

     Date                     Price                Odo (mi)           Grade          Eng/T              Ext Color   Type           Region                   Auction


     4/3/24                $26,800                  146,644                   3.9 6DT/A                White        Regular       Southwest                Dallas

     4/2/24                $21,200                  118,526                   2.7 6DT/A                Blue         Lease         Midwest                  St Louis

     3/29/24               $18,400                  242,244                   2.6 6DT/A                White        Regular       Southwest                Dallas-Fort …

     3/28/24               $24,800                   67,871                   2.1 6DT/A                Blue         Lease         Northeast                Fredericksbu…

     3/21/24               $18,500                  158,629                   2.2 6DT/A                White        Lease         Southeast                Palm Beach

     3/12/24               $31,500                   52,939                    -- 6DT/A                Black        Regular       Southeast                Orlando

     Condition Reports from AutoGrade™ or Manheim Express Grade




  Historical Average                                                                                                  Projected Average
       Past 30 Days                             6 Months Ago                      Last Year                                Next Month

       $23,500                                  $26,600                           $31,300                                  $23,600
       131,142 mi                               87,158 mi                         51,645 mi


  Estimated Retail Value
  Based on Cox Automotive Retail Transactions


       $27,500
       Typical Range
       $21,900 - $33,200




                                                                                                                                                               EXHIBIT
                                                                                                                                                                  B
                                                                                                                                                              ___________

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4/9/24, 3:28 Case
             PM   24-50346-grs                        Doc 100-2
                                                           Manheim Filed
                                                                   | MMR | 05/20/24   Entered
                                                                           MERCEDES-BENZ         05/21/24
                                                                                         GLS | April 9, 2024 US 17:22:50
                                                                                                                Edition                                      Desc
                                                              Exhibit B Page 2 of 6

               Manheim Market Report                                                  April 9, 2024 US Edition



    2023 MERCEDES-BENZ GLS 4D SUV GLS 450 4MATIC
    4JGFF5KE1PA922100



                    Base MMR                                     MMR Adjustments                                                         MMR Range

               $76,900                                           Odometer
                                                                   --
                                                                                                                                  $72,200 - $81,700


                                                                 Region                                                             Adjusted MMR
                  Avg Odometer (mi)
                        10,405
                                                                   --

                                                                 Condition Report
                                                                                                                                             --
                                                                   --
                     Avg Condition
                          4.7                                    Color                                                            Estimated Retail Value
                                                                                                                            Based on Cox Automotive Retail Transactions
                                                                   --

                                                                 Numbers may not add exactly due to rounding
                                                                 ** AutoGrade™ or Manheim Express Grade
                                                                                                                                       $80,100


  Transactions               Showing 25 of 44

    Date                    Price              Odo (mi)               Grade         Eng/T             Ext Color   Type        Region                    Auction


    4/4/24                $73,500                19,305                       4.8 6GT/A              Black        Regular    Southeast                 Orlando

    4/4/24                $79,000                11,355                       4.8 6GT/A              Black        Factory    Southeast                 Atlanta

    4/3/24                $80,000                  5,201                      4.7 6GT/A              White        Regular    Southwest                 Dallas

    4/3/24                $80,500                  3,441                      4.9 6GT/A              Gray         Factory    West Coast                San Francisc…

    4/3/24                $72,500                18,910                       4.8 6GT/A              Black        Regular    Southwest                 Dallas

    4/3/24                $77,750                11,085                       4.8 6GT/A              White        Lease      Southeast                 Palm Beach

    4/3/24                $75,000                16,989                       4.5 6GT/A              Silver       Lease      Southeast                 Orlando

    4/2/24                $79,750                  1,031                      5.0 6GT/A              Gray         Factory    Southeast                 Atlanta

    4/2/24                $80,000                  2,170                      5.0 6GT/A              Gray         Factory    West Coast                Riverside

    4/2/24                $80,750                  2,691                      5.0 6GT/A              Gray         Factory    West Coast                Riverside

    4/2/24                $66,500                25,291                       4.0 6GT/A              White        Lease      Southwest                 Dallas

    4/1/24                $77,600                10,900                       4.7 6CY/A              Black        Regular    West Coast                Phoenix

    3/29/24               $75,000                10,027                       4.9 6CY/A              Red          Regular    West Coast                Utah

    3/29/24              $70,250*                  5,217                      3.5 6GT/A              Silver       Lease      West Coast                Nevada

    3/28/24               $77,000                  3,024                      4.7 6GT/A              Gray         Factory    West Coast                Riverside

    3/27/24               $81,250                  2,845                      4.9 6GT/A              Gray         Factory    West Coast                San Francisc…

    3/27/24               $78,000                  9,582                      4.9 6GT/A              White        Regular    Southeast                 Nashville

    3/27/24               $82,500                     685                     5.0 6GT/A              Gray         Factory    West Coast                Riverside

    3/26/24               $77,750                  5,970                      4.9 6GT/A              White        Regular    West Coast                Riverside

    3/26/24               $78,500                  6,991                      4.6 6GT/A              Black        Factory    Southeast                 Atlanta

    3/26/24               $77,250                  9,250                      4.3 6GT/A              Black        Factory    Southeast                 Atlanta

    3/26/24               $81,250                  1,469                      4.2 6GT/A              Silver       Factory    Southeast                 Atlanta

    * Transactions not in sample
    Condition Reports from AutoGrade™ or Manheim Express Grade



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4/9/24, 3:28 Case
             PM   24-50346-grs                              Doc 100-2
                                                                 Manheim Filed
                                                                           | MMR | 05/20/24
                                                                                     MERCEDES-BENZ  Entered    05/21/24
                                                                                                       GLS | April 9, 2024 US 17:22:50
                                                                                                                                Edition     Desc
     Date                      Price                Odo (mi)      Grade
                                                                        Exhibit
                                                                             Eng/T
                                                                                   B   Page      3
                                                                                         Ext Color
                                                                                                   of 6  Type            Region         Auction


     3/26/24                 $77,900                       5,561      5.0 6GT/A        Black           Regular     Southeast         Statesville

     3/26/24                 $77,250                  10,302          4.8 6GT/A        Silver          Factory     Southeast         Atlanta

     3/25/24                 $80,750                       2,927      4.7 6GT/A        Gray            Factory     Southeast         Atlanta

     * Transactions not in sample
     Condition Reports from AutoGrade™ or Manheim Express Grade


  Historical Average                                                                                      Projected Average
       Past 30 Days                             6 Months Ago             Last Year                           Next Month

       $76,700                                  $86,300                  $91,100                             $76,100
       10,405 mi                                6,901 mi                 11,296 mi


  Estimated Retail Value
  Based on Cox Automotive Retail Transactions


       $80,100
       Typical Range
       $76,900 - $83,300




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4/9/24, 3:30 Case
             PM   24-50346-grsManheim
                                 Doc| MMR
                                      100-2    Filed 05/20/24
                                          | MERCEDES-BENZ        Entered
                                                          SPRINTER 2500 2WD 05/21/24    17:22:50
                                                                            V6 TDSL | April              Desc
                                                                                            9, 2024 US Edition
                                                                              Exhibit B            Page 4 of 6

                 Manheim Market Report                                                 April 9, 2024 US Edition



     2020 MERCEDES-BENZ SPRINTER 2500 2WD V6 TDSL EXT CARGO 3.0L HIGH ROOF
     W1Y4ECHY0LT024800



                      Base MMR                                    MMR Adjustments                                                            MMR Range

                 $30,300                                          Odometer
                                                                    --
                                                                                                                                        $27,400 - $33,100


                                                                  Region                                                                   Adjusted MMR
                    Avg Odometer (mi)
                         128,391
                                                                    --

                                                                  Condition Report
                                                                                                                                                 --
                                                                    --
                       Avg Condition
                             3.4                                  Color                                                                 Estimated Retail Value
                                                                                                                                Based on Cox Automotive Retail Transactions
                                                                    --

                                                                  Numbers may not add exactly due to rounding
                                                                  ** AutoGrade™ or Manheim Express Grade
                                                                                                                                            $34,600


  Transactions                 Showing 8 of 8

     Date                    Price                 Odo (mi)           Grade         Eng/T              Ext Color   Type           Region                    Auction


     3/27/24               $31,000                   72,391                   3.4 6DT/A               White        Regular       West Coast                California

     3/27/24               $26,500                 110,454                    2.1 6DT/A               White        Regular       Southwest                 Dallas

     3/22/24               $40,000                   41,406                   4.8 6DT/A               White        Regular       Northeast                 Pennsylvania

     3/19/24               $17,500                 280,065                    3.2 6DT/A               White        Regular       Northeast                 Philadelphia

     3/15/24               $20,000                 338,690                    2.0 6DT/A               White        Lease         Northeast                 Pennsylvania

     3/14/24               $27,500                 124,661                    3.5 6DT/A               White        Lease         West Coast                Southern Cal…

     3/13/24               $40,000                   36,582                   4.2 6DT/A               White        Regular       Southwest                 Dallas

     3/12/24               $39,400                   22,876                   4.3 6CY/A               --           Regular       West Coast                myCentralAu…

     Condition Reports from AutoGrade™ or Manheim Express Grade




  Historical Average                                                                                                  Projected Average
       Past 30 Days                             6 Months Ago                      Last Year                                Next Month

       $30,200                                  $35,000                           $42,300                                  $30,100
       128,391 mi                               81,377 mi                         27,017 mi


  Estimated Retail Value
  Based on Cox Automotive Retail Transactions


       $34,600
       Typical Range
       $29,500 - $39,600




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4/9/24, 3:31 Case
             PM   24-50346-grsManheim
                                 Doc| MMR
                                      100-2    Filed 05/20/24
                                          | MERCEDES-BENZ        Entered
                                                          SPRINTER 2500 2WD 05/21/24    17:22:50
                                                                            V6 TDSL | April              Desc
                                                                                            9, 2024 US Edition
                                                                              Exhibit B            Page 5 of 6

                 Manheim Market Report                                                 April 9, 2024 US Edition



     2019 MERCEDES-BENZ SPRINTER 2500 2WD V6 TDSL EXT CARGO 3.0L HIGH ROOF
     WD4PF1CD1KP035860



                      Base MMR                                    MMR Adjustments                                                            MMR Range

                 $23,600                                          Odometer
                                                                    --
                                                                                                                                        $19,150 - $28,000


                                                                  Region                                                                 Adjusted MMR
                    Avg Odometer (mi)
                         131,142
                                                                    --

                                                                  Condition Report
                                                                                                                                                 --
                                                                    --
                       Avg Condition
                             2.7                                  Color                                                                 Estimated Retail Value
                                                                                                                                Based on Cox Automotive Retail Transactions
                                                                    --

                                                                  Numbers may not add exactly due to rounding
                                                                  ** AutoGrade™ or Manheim Express Grade
                                                                                                                                            $27,500


  Transactions                 Showing 6 of 6

     Date                     Price                Odo (mi)           Grade          Eng/T              Ext Color   Type           Region                   Auction


     4/3/24                $26,800                  146,644                   3.9 6DT/A                White        Regular       Southwest                Dallas

     4/2/24                $21,200                  118,526                   2.7 6DT/A                Blue         Lease         Midwest                  St Louis

     3/29/24               $18,400                  242,244                   2.6 6DT/A                White        Regular       Southwest                Dallas-Fort …

     3/28/24               $24,800                   67,871                   2.1 6DT/A                Blue         Lease         Northeast                Fredericksbu…

     3/21/24               $18,500                  158,629                   2.2 6DT/A                White        Lease         Southeast                Palm Beach

     3/12/24               $31,500                   52,939                    -- 6DT/A                Black        Regular       Southeast                Orlando

     Condition Reports from AutoGrade™ or Manheim Express Grade




  Historical Average                                                                                                  Projected Average
       Past 30 Days                             6 Months Ago                      Last Year                                Next Month

       $23,500                                  $26,600                           $31,300                                  $23,600
       131,142 mi                               87,158 mi                         51,645 mi


  Estimated Retail Value
  Based on Cox Automotive Retail Transactions


       $27,500
       Typical Range
       $21,900 - $33,200




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4/9/24, 3:31 Case
             PM   24-50346-grsManheim
                                 Doc| MMR
                                      100-2    Filed 05/20/24
                                          | MERCEDES-BENZ        Entered
                                                          SPRINTER 2500 2WD 05/21/24    17:22:50
                                                                            V6 TDSL | April              Desc
                                                                                            9, 2024 US Edition
                                                                              Exhibit B            Page 6 of 6

                 Manheim Market Report                                                 April 9, 2024 US Edition



     2021 MERCEDES-BENZ SPRINTER 2500 2WD V6 TDSL EXT CARGO 3.0L HIGH ROOF
     W1Y4ECHYXMT060270



                      Base MMR                                    MMR Adjustments                                                            MMR Range

                 $32,800                                          Odometer
                                                                    --
                                                                                                                                        $27,900 - $37,700


                                                                  Region                                                                   Adjusted MMR
                    Avg Odometer (mi)
                          91,165
                                                                    --

                                                                  Condition Report
                                                                                                                                                 --
                                                                    --
                       Avg Condition
                             3.7                                  Color                                                                 Estimated Retail Value
                                                                                                                                Based on Cox Automotive Retail Transactions
                                                                    --

                                                                  Numbers may not add exactly due to rounding
                                                                  ** AutoGrade™ or Manheim Express Grade
                                                                                                                                            $40,100


  Transactions                 Showing 6 of 6

     Date                    Price                 Odo (mi)           Grade         Eng/T              Ext Color   Type           Region                    Auction


     3/27/24               $45,000                   15,629                   4.9 6DT/A               White        Regular       Southeast                 Nashville

     3/15/24               $44,500                     6,796                  4.2 6DT/A               White        Regular       Southeast                 Fort Lauderd…

     3/13/24               $42,000                   15,624                   4.4 6CY/A               White        Regular       West Coast                Utah

     3/7/24                $27,500                 115,017                    1.8 6DT/A               White        Lease         Northeast                 Pennsylvania

     3/6/24                $18,250                 180,054                    2.5 6DT/A               White        Lease         Southeast                 Nashville

     2/29/24               $20,800                 213,871                    4.6 6DT/A               White        Regular       Northeast                 New Jersey

     Condition Reports from AutoGrade™ or Manheim Express Grade




  Historical Average                                                                                                  Projected Average
       Past 30 Days                             6 Months Ago                      Last Year                                Next Month

       $43,800                                  $45,900                           $48,100                                  $32,500
       12,683 mi                                32,151 mi                         57,046 mi


  Estimated Retail Value
  Based on Cox Automotive Retail Transactions


       $40,100
       Typical Range
       $33,600 - $46,500




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